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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

UNITED STATES OF            AMERICA,        )
                                                                   Lk 26.L6r DsO f1"a
                                            )      INDICTMENT
                        Plaintiff,          )
                                            )      18 U.S.C. S 1343
      v.)                                          18 U.S.c. $ e81(aX1)(C)
                                            )      28 U.S.C. S 2461(c)
ADITYA RAJ SIIARI\{A,                       )
                                            )
                        Defendant.          )

      The UMTED STATES GRAND JURY charges:

                                    General Allegations

      At times relevant to this Indictment:

The Defendant and Related           Entities
      1.       Defendant ADITYA RAJ SHARMA was a resident of Maple Grove, in

the State and District of Minnesota.

      2.       Crosscode Inc. ('Crosscode") was a cloud-based software development

company registered        in   Delaware and headquartered    in   Foster City, California.

Defendant SIIARMA originally founded Crosscode in 2015, and thereafter held

various positions including chief executive offrcer and president. On or about

November 13, 2019, defendant SIIARMA was notified that-effective immediately-

Crosscode's board       of directors had removed him as an offrcer of Crosscode and
terminated his employment for cause. Defendant SIIARI\{A also knew that he was

not the   L00o/o   shareholder of Crosscode's shares.

      3.       Kloudgaze Inc. ('Kloudgaze") was a company that claimed to design

cloud-computing technology, which defendant SIIARI\{A created and registered in

                                                                                   SCANNED

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Delaware on or about May 18, 2020. Defendant Sharma was Kloudgaze's president

and chief executive officer.

      4.      Through at least July 2020, defendant SHARMA did not report to the

State of Minnesota the payment of any wages to a single Kloudgaze employee.

      5.      At no point did defendant SIIARI![-tfs former company,   Crosscode, do

business under the name Kloudgaze.

The U.S. Small Business Administration

      6.      The United States Small Business Administration ('SBA") was an

executive-branch agency of the United States government that provided support to

entrepreneurs and small businesses. The mission of the SBA was to maintain and

strengthen the nation's economy by enabling the establishment and viability of small

businesses and by assisting in the economic recovery of communities after disasters.

    ' 1.      As part of this effort, the SBA enabled and provided for loans through

banks, credit unions, and other lenders. These loans have government-backed

guarantees.

CARES Act and Paychech Protection Program

      8.      The Coronavirus Aid, Relief, and Economic Security C'CARES") Act was

a federal law enacted in March   2O2O   and designed to provide emergency financial

assistance to the millions of Americans who are suffering the economic effects caused

by the COVID-19 pandemic. One source of relief provided by the CARES Act was the

authorization of forgivable loans to small businesses for job retentibn and certain

other expenses, through a program referred to as the Paycheck Protection Program

('PPP").
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       9.     To obtain a PPP loan, a qualifuing business was required to submit a

PPP loan application, which was signed by an authorized representative of the

business. The PPP loan application required the business (through its authorized

representative) to acknowledge the program rules and make certain affrrmative

certifi.cations   in order to be eligible to obtain the PPP loan. In the PPP loan
application (SBA Form 2483), the small business (through               its   authorized

representative) was required to certify, among other     things: (a) that the small
business was      in operation on February 15, 2O20; (b) average     monthly payroll

expenses; and (c) number of employees. These figures were used to calculate the

amount of money the small business was eligible to receive under the PPP. In

addition, businesses applying for a PPP loan were required to provide documentation

showing their payroll expenses.

 .     10.    A PPP loan application was processed by a participating lender. If      a

PPP loan application was approved, the participating lender funded the PPP loan

using its own monies, which were guaranteed by the SBA, Data from the application,

including the information about the borrower, the total amount of the loan, and the

Iisted number of employees, was transmitted by the lender to the SBA in the course

of processing the loan.

       L1.    PPP loan proceeds were required to be used on certain permissible

expenses, including payroll costs, mortgage interest, rent,'and   utilities. Under the
applicable PPP rules and guidance, the interest and principal on the PPP loan was

eligible for forgiveness if the business spent the loan proceeds on these expense items



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within a designated period of time and used a certain portion of the loan towards

payroll expenses.

ilelevant Financial Institutions and Related, Entities

        .L2.   Bank 1 was a federally insured financial institution based in Ogden,

Utah. Bank 1 participated in the SBA s PPP as a lender, and,    as such, was authorized

to lend funds to eligible borrowers under the terms of the PPP.

        13. Bank 2 was a         federally insured financial institution based in

Minneapolis, Minnesota, with multiple branch locations, including in Maple Grove,

Minnesota. Defendant SIIARI\{A maintained accounts at Bank 2 for which he was

the sole account signatory.

        L4. Bank 3 was a         federally insured financial institution based in

Minneapolis, Minnesota, with multiple branch locations, including in Maple Grove,

Minnesota. Defendant Sharma maintained personal accounts at Bank 3 for which he

had signatory authority.

        15.    Company 1 was a business that specialized       in, among other things,
providing an internet platform for borrowers to apply for SBA-related financing.

Company L was based in San Francisco, California. Company 1 participated in the

SBAs PPP by, among other things, acting as a service provider between small

businesses and certain banks, including Bank 1. Small businesses seeking PPP loans

could apply through Company L for PPP loans. Company 1 would review the loan

applications. If a loan application received by Company   1   was approved for funding,

a   partner bank, such as Bank 1, disbursed the loan funds to the applicant.



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                                         COUNT 1
                                        (Wire Fraud)

       16.      Paragraphs 1 through 15 are incorporated by reference as    if fully   set

forth herein.

       17.      Beginning in or around April 2020, and continuing until at least in or

around October 2020,     in Maple     Grove, Minnesota, which is within the District of

Minnesota, and elsewhere, the defendant,

                                  ADITYA RAJ SHARIT,IA,

did knowingly devise andparticipate in a scheme and artifice to defraud and to obtain

money by means of materially false and fraudulent pretenses, representations, and

promises, and by concealment of material facts.

      18.       More specifrcally, defendant SHARMA devised a scheme to defraud

Bank L, Company 1, and the SBA by filing a false and fraudulent application for PPP

funds. The purpose of the scheme was for defendant SIIARMA to unjustly enrich

himself by obtaining PPP loan proceeds under false and fraudulent pretenses,

including by submitting fabricated supporting bank records, making false statements

about the number of employees and the amount of payroll expenses, and making false

statements about the intended use of the loan proceeds.

       19. In furtherance of the scheme, on or about April 26, 2020, defendant
SHARMA submitted a false and misleading PPP application (.'PPP Application        1-")   to

Bank 1 and Company       1.,   which d.efendant SHARMA claimed. to submit in the name

of "Crosscode dba Kloudgaze." PPP Application 1 sought approximately $562,500            in

PPP funds and was signed by ddfendant       SIIARMA. In addition, defendant SIIARIVIA
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certified that PPP Application 1 and the information provided in all supporting

documents and forms was true and accurate.

      20. On PPP Application L, defendant SHARMA falsely stated                   that

"Crosscode dba Kloudgaze" was     in operation on February 15, 2020, despite the fact

that defendant SIIARI\{A, as he well knew, did not create Kloudgaze until on or about

May 18, 2020. In addition, as defendant SHARMA well knew, Crosscode never did

business   in the name of Kloudgaze. Defendant SIIARI\{A further falsely stated in

PPP Application 1 that he was the 100% owner and "CEO" of Crosscode, which, as

defendant SHARI\{A knew at the time, was a false description of his position and

ownership concerning Crosscode.

      2L.     It was further part of the scheme that defendant SIIARIVIA falsely stated

on PPP Application 1 that the average monthly payroll of "Crosscode dba Kloudgaze"

was $225,000, and that the company had approximately 29 employees.

      22. It was further part of the scheme that defendant SIIARMA falsified
bank account records in support of PPP Application L unbeknownst to Bank             1,


Company 1, and Crosscode. More specifically, defendant SHARMA provided Bank           1


and Company    l with an altered and falsified   monthly statement that purported to be

a Crosscode bank statement for an account maintained at Bank 3. However, in fact,

and as defendant SIIARI\{A knew at the time, "Crosscode dba Kloudgaze" maintained

no such accounts at Bank   3. Instead, in support of PPP Application 1 and in order to

deceive Bank 1 and Company 1, defendant SIIARIVIA submitted a bogus bank account

statement that he created, which misappropriated information from an older

Crosscode bank statement.
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      23.     On or about April 25, 2020, Company 1 requested clarification and

additional substantiation from defendant SHARMA regarding his pending PPP

Application   1. In ord.er to further deceive and to stave off inquiry,    defendant

SIIARMA responded       to   Company    1 with additional false statements      and

misrepresentations regarding his position and ownership concerning Crosscode as

well as Crosscode's purported business affi.liation with Kloudgaze.

      24.     As a result of defendant SIIARMA's material falsehoods and omissions,

Bank L eventually approved PPP Application 1. On or about April 29,2020, Bank       1


distributed approximately $562,500 to defendant SIIARMA through a wire transfer

sent to one of defendant SHARI\{A's accounts at Bank 2.

      25. It was further part of the scheme that defendant SIIARI\{A received
approximately $562,000     in fraud proceeds, some of which he distributed and
misappropriated, or attempted to distribute and misappropriate, for the personal

benefit of himself and other parties in violation of the PPP's requirements. More

specifically, rather than use PPP funds for permissible business expenses, such as

payroll costs, mortgage interest, rent, or utilities, defendant STIARMA instead

transferred approximately $500,000 to a personal account at Bank 2 that he

controlled and that was unrelated      to   "Crosscode   dba Kloudgaze," transferred

approximately $400,000 from his personal account at Bank 2 to a different personal

account at Bank 3, made an approximately $76,300 payment for legal services, made

a $5,000 down payment toward the installation of a $64,300 pool at his personal

residence, and transferred approximately $14,000 to a financial account in India.



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         26.    On or about the date set forth below, in the State and District of

Minnesota and elsewhere, the defendant,

                                   ADITYA RAJ SHARMA,

for the pur?ose of executing and attempting to execute the above-described scheme

and artifice to defraud, knowingly transmitted and caused to be transmitted by

means of wire communications in interstate and foreign commerce, certain writings,

signs, signals, and sounds, as described below:

                                                                                        -ff5.
                                         :ti4,*ji UiJffiq *;:''                  I,n'
                                         Electronic submission from Minnesota of PPP
     I           April 26,2020           Application 1, which was routed interstate
                                         through Company 1's servers outside of
                                         Minnesota.

         All in violation of fitle 18, United States Code, Section 1343.

                               FORFEITURE ALLEGATIONS

         27.   Count 1 of this Indictment is incorporated by reference for the purpose

of alleging forfeiture pnrsuant to        fitle   18, United States Code, Section 981(a)(1)(C),

in conjunction with    fitle   28, United States Code, Section      2Ailk\.
         28.   Upon conviction of any of the offenses alleged in Count 1, as set forth in

this Indictment, defendant shall forfeit to the United States of America any property,

real or personal, which constitutes or is derived from proceeds traceable to the

violation, as proviiled in     fitle   18, United States Code, Section 981(a)(1)(C) and Title

28, United States Code, Section 246L(c).

         29. If any of the above-described forfeitable property is unavailable for
forfeiture, the United States intends to seek the forfeiture.of substitute property as
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provided for in Title 21, United States Code, Section 853(p), as incorporated by Title

28, United States Code, Section 246L(c).

                                   A TRUE BILL



UNITED STATES      ATTORNEY                    FOREPERSON




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